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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

EDUARDO ANDRE ELY,

       Plaintiff,                                                 Case No.: 1:25-cv-03988

v.                                                                Judge Lindsay C. Jenkins

THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Young B. Kim
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                     DEFENDANT
                 12                                   xiaowangxinneng
                 19                                       BIG Aiseo
                 22                                    Custom Art Gift
                 23                                 Essence Prime Summer
                 24                                    Chic Sustainable
                 25                                        TCMZP
                 26                                       BIG Wards
                 30                                   Fantasy Art Studio
                 35                                      CHR Online
                 38                                      Uni Clothes
                 39                                        FHNMY
                 40                                   Full House i local
                 42                                        felebozz
                 43                                      AKKKSHOP
                 44                                   Nonsense Apparel
                 45                                         Harsea
                 46                                         Lianaa
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          48                               Zhengyibin local
          49                                  COOMUG
          50                                     qiaofa
          52                                    Zolaney
          54                                 osborn s shop
          55                              NEWXXTSHIRT
          57                              Love Custom UMI
          59                               Vivid Vibes Tees
          61                                Tang Chenpin
          63                                   AMBBQ
          64                                    BKLNJ
          67                                 JRCHICYEA
          68                                   man eight
          72                                CWWWSHOP
          73                                   Easy HB
          74                               Shallalala T shirt
          77                             CHEERFUL GIRLS
          84                                 Rogue Attire
          86                                    Qyichen
          92                                  MTH Shop
         101                                     GFD
         103                                     XGP
         104                                 ECCCSHOP
         108                                    WYFO
         109                                  CHO Online
         110                               Cozy Nest TXH
         113                              Princess Showcase
         116                               Purely Comforts
         117                                    AATBR
         118                                     MZ A
         121                           Xinxin Womens Clothing
         123                                NOZ STYLE I
         125                                  BYOUGUO
         139                                   TTMUG
         140                            DIYTREE Funny Gift
         141                                Printmaking art
         142                                   TRMUG
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DATED: June 2, 2025                        Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
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                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 2, 2025 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
